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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division




 UMG RECORDINGS, INC.,
 et al.,

       Plaintiffs,



 V.                                   Civil Action No. 1:18-cv-00957



 TOFIG KURBANOV,
 et al.,

       Defendants.




                            MEMORANDUM OPINION


       THIS MATTER comes before the Court on Defendant Tofig

 Kurbanov's Motion to Dismiss pursuant to Federal Rule of Civil

 Procedure 12(b)(2), or, alternatively, to transfer the case to

 the Central District of California.


       Plaintiffs are twelve record companies that produce,

 distribute, and license the majority of commercial sound

 recordings in the United States. All of them are Delaware

 companies, with eight having their principal place of business

 in New York, three in California, and one in Florida.

       Defendant is a Russian national living and working in the

 Russian Federation. Defendant owns and operates two websites,

 www.FLVTO.biz (FLVTO) and www.2conv.com (2conv) (collectively
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